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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the                                      FILED
                                                      Northern District
                                                   __________  District of
                                                                        of __________
                                                                           Texas                         June 8, 2020
                  United States of America                         )                              KAREN MITCHELL
                             v.                                    )                          CLERK, U.S. DISTRICT COURT
                                                                   )      Case No.
                                                                   )                 3:20-MJ-
                ERICK MONTGOMERY                                   )
                                                                   )                  3:20-MJ-564-BT
                                                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   May 31, 2020                 in the county of                 Dallas            in the
     Northern          District of            Texas            , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 922(u)                                Theft from a Federal Firearms Licensee
18 U.S.C. § 922(j)                                Possession of Stolen Firearms




         This criminal complaint is based on these facts:

See attached Affidavit of SA Robert Gardner.




         ✔ Continued on the attached sheet.
         ’


                                                                                               Complainant’s signature

                                                                                             Robert Gardner, SA, ATF
                                                                                                Printed name and title

Agent sworn and signature confirmed via reliable electronic means, pursuant to Fed. R. Crim. P. 4.1.


Date:
                                                                                                  Judge’s signature

City and state:           Dallas, Texas                                      REBECCA RUTHERFORD, U.S. Magistrate Judge
                                                                                                Printed name and title




        Print                        Save As...                 Attach                                                   Reset
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                                        AFFIDAVIT

        I, Robert Gardner, having been duly sworn do depose and state the following:

       1.     I, Robert Gardner, am a Special Agent with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF). I have been employed with the ATF since June 2018. I

am presently assigned to the Dallas Field Division, in Dallas, Texas. As such, I am an

“investigative or law enforcement officer” of the United States within the meaning of 21

U.S.C. § 878(a). I was previously employed with the United States Border Patrol. I

worked as Patrol Agent, Riverine Agent, and on various narcotics interdiction teams

during the five (5) years I was employed with the United States Border Patrol. During my

law enforcement career, I have received specialized training from various federal and state

law enforcement agencies.

       2.     As a result of my training and experience as an ATF agent, I am familiar

with federal criminal laws and know that it is a violation of 18 U.S.C. § 922(u), for any

person to steal or unlawfully take or carry away from the person or the premise of a

person who is licensed to engage in the business of importing, manufacturing, or dealing

in firearms, any firearm in the licensee’s business inventory that has been shipped or

transported in interstate or foreign commerce. I also know it is a violation of 18 U.S.C. §

922(j) for any person to receive, possess, conceal, store, barter, sell, or dispose of any

stolen firearm or stolen ammunition, or pledge or accept as security for a loan any stolen

firearm or stolen ammunition, which is moving as, which is a part of, which constitutes, or

which has been shipped or transported in, interstate or foreign commerce, either before or
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after it was stolen, knowing or having reasonable cause to believe that the firearm or

ammunition was stolen.

       3.     DFW Gun Range is a Federal Firearms Licensee assigned Federal Firearms

License number 5-75-113-07-2G-04361. DFW Gun Range is located at 1607 West

Mockingbird Lane, Dallas, Texas. which is in the Northern District of Texas.

       4.     As set forth in this affidavit, there is probable cause to believe that Erick

Montgomery, B/M, DOB 2/2/2002, has committed violations of 18 U.S.C. § 922(u), and

18 U.S.C. § 922(j). The information in this affidavit is based on my personal knowledge

and information provided to me by other law enforcement officers and others, considered

credible persons. Because this affidavit is provided for the limited purpose of establishing

probable cause to secure an arrest warrant, via criminal complaint, the information

contained herein is not a complete statement of all the facts related to this case. I have set

forth only those facts that I believe are necessary to establish probable cause that Erick

Montgomery has committed violations of 18 U.S.C. § 922(u), Theft from a Federal

Firearms Licensee; and 18 U.S.C. § 922(j), Possession of Stolen Firearms.

                                      BACKGROUND

       5.     On May 31, 2020, at approximately 1:41 a.m., three unidentified black male

pried open the side entrance of DFW Gun Range, located at 1607 Mockingbird Lane,

Dallas, Texas. Upon entry into the establishment, one suspect immediately proceeded to

grab several rifles posted on the wall and the other two suspects smashed glass cases for

various handguns. A total of 43 handguns of varying calibers and three (3) rifles were

stolen and the theft transpired in a span of approximately 80 seconds. The suspects exited
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through the same side door and walked or jogged across Oakbrook Boulevard, Dallas,

Texas, in a northwesterly direction.

       6.     A review of surveillance video revealed one black male suspect had white

gloves and was wearing a gray hoodie, black sweatpants and black Nike shoes with a

white “Swoosh” sign. The second black male suspect was wearing a maroon hoodie,

gray–torn jeans, black Nike shoes with a white “Swoosh” sign, black mask, and an

assorted color backpack and carrying a dark blue bag. The third black male suspect was

wearing a black sweater, black pants, and black Nike shoes with large, white letters

spelling “AIR” (possibly Nike Air Uptempo design) and was holding a blue bag.

       7.     Firearms stolen from the DFW Gun Range that were in the business’s

inventory are listed as:

               a.     Ruger, LCP2, .380 caliber pistol, serial number (S/N) 380507503;

               b.     Ruger, LCP2, .380 caliber pistol, S/N 380507496;

               c.     Heckler and Koch, HK45 TAC, .45 caliber pistol, S/N HKU-

                      047769;

               d.     Heckler and Koch, HK45, .45 caliber pistol, S/N HKU-021617;

               e.     Smith and Wesson, M&P 15-22, .22 caliber rifle, S/N HCD4734;

               f.     Glock, 44, .22 caliber pistol, S/N ADPR626;

               g.     Glock, 41, .45 caliber pistol, S/N ADXN963;

               h.     Glock, 35, .40 caliber pistol, S/N BLHT877;

               i.     Glock, 41, .45 caliber pistol, S/N YWE227;

               j.     SCCY, CPX-2, 9mm pistol, S/N 901733;
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       k.    SCCY, CPX-2, 9mm pistol, S/N 901728;

       l.    Sig Sauer, 365, 9mm pistol, S/N 66A823343;

       m.    Canik, TP-9, 9mm pistol, S/N 20BC13120;

       n.    CZ, 97BD, .45 caliber pistol, S/N D102645;

       o.    CZ, P-10, 9mm pistol, S/N C948636;

       p.    CZ, P-10, 9mm pistol, S/N D185135;

       q.    CZ, 75 B, 9mm pistol, S/N D187346;

       r.    Walther, PPQ M2, 9mm pistol, S/N FCW8175;

       s.    Troy, Carbine, 5.56mm rifle, S/N DSE003806;

       t.    Sig Sauer, 224, .40 caliber pistol, S/N 50E003389;

       u.    Sig Sauer, 224, .40 caliber pistol, S/N 50E002212;

       v.    Sig Sauer, 224, .40 caliber pistol, S/N 50E002984;

       w.    Sig Sauer, 229 Legion, 9mm pistol, S/N 55B090740;

       x.    Sig Sauer, 1911 SUB TAR, .45 caliber pistol, S/N: 54B079201;

       y.    Smith & Wesson, M&P, 9mm pistol, S/N JDU4835;

       z.    Smith & Wesson, M&P, 9mm pistol, S/N JDU1341;

       aa.   Smith & Wesson, M&P, 9mm pistol, S/N JDX0519;

       bb.   Smith & Wesson, M&P, .380 caliber pistol, S/N NFK1580;

       cc.   Smith & Wesson, M&P, 9mm pistol, S/N JDP5111;

       dd.   Smith & Wesson, M&P 45, .45 caliber pistol, S/N NFE7398;

       ee.   Smith & Wesson, M&P 45 Shield, .45 caliber pistol, S/N JCN1442;
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              ff.    Smith & Wesson, M&P 45 Shield, .45 caliber pistol, S/N:

                     HXE7370;

              gg.    Springfield, Aficionado, .45 caliber pistol, S/N NM531012;

              hh.    FN Herstal, 509 Tactical, 9mm pistol, S/N GKS0080219;

              ii.    FN Herstal, FN45 Tactical, .45 caliber pistol, S/N FX3U133070;

              jj.    FN Herstal, 509 Tactical, 9mm pistol, S/N GKS0080342;

              kk.    FN Herstal, 503, 9mm pistol, S/N CV006942;

              ll.    DPMS, A-15, 5.56mm rifle, S/N F006675;

              mm. Walther, PPQ M2, 9mm pistol, S/N FCY3689;

              nn.     Ruger, LCP2, .380 caliber pistol, S/N 380348353;

              oo.     Ruger, LCP2, .380 caliber pistol, S/N 380348122;

              pp.     Ruger, Mark IV, .22 caliber pistol, S/N 500212028;

              qq.     Kimber, Royal II, .45 caliber pistol, S/N K473238;

              rr.    Springfield, XDE, 9mm pistol, S/N AT112492; and

              ss.    Heckler and Koch, P30, .40 caliber pistol, 219-021623.

                                    INVESTIGATION

       8.     With no substantial leads being developed, the ATF issued a press release

regarding the FFL burglary and a reward was offered for information leading to the arrest

of the suspects responsible. As a result of the press release, the ATF and Dallas Police

Department (DPD) received a credible lead in the investigation. The reporting person

(Tipster One) claimed to know the identities of the three individuals that were shown on
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the video aired on the news pertaining to the burglary of DFW Gun Range that occurred

on May 31, 2020.

      9.     ATF Special Agent Jordan Klutka and ATF Task Force Officer John Brow

met with Tipster One in person and Tipster One provided the following information:

Tipster One identified the three burglars as Demonte Kelly who was wearing the grey

sweatshirt, “LJ” who is wearing the black sweatshirt carrying a duffel bag, and “Erick”

who is wearing the maroon sweatshirt. Tipster one claimed to know “Erick” as the brother

or cousin of a woman who had previously had a child with Demonte Kelly. Agents later

identified “LJ” as Lejael Rudley and “Erick” as Erick Montgomery.

      10.    On June 6, 2020, ATF Special Agents (SA) made contact with Erick

Montgomery at 3020 Bickers Street, Apartment 203, Dallas, Texas, 75212. Erick

Montgomery agreed to speak with ATF SAs Jordan Klutka, Aaron Loving, and Kenneth

Benton. Erick Montgomery agreed to sit in SA Klutka’s government vehicle. SA

Klutka read Erick Montgomery his Miranda rights. Erick Montgomery agreed to

waive his rights and speak with Agents inside the government vehicle.

      11.    Agents asked Erick Montgomery if he knew why ATF was at his residence

and attempting to speak with him. Erick Montgomery said he understood why Agents

were there and acknowledged that he was present at the DFW Gun Range burglary that

occurred on May 31, 2020. SA Klutka presented a photo of the three burglars obtained

from surveillance footage at the time of the burglary at DFW Gun Range. SA Klutka

pointed to the burglar who is wearing the maroon sweatshirt carrying a small backpack

and asked Erick Montgomery if that burglar was him.
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      12.    Erick Montgomery agreed with SA Klutka that the individual wearing the

maroon sweatshirt is himself. Erick Montgomery claimed he only stole two firearms

during the burglary. Agents asked if the two firearms he stole were rifles and Erick

Montgomery replied in the affirmative. Additionally, Erick Montgomery stated he was
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the first individual to flee DFW Gun Range during the burglary which is consistent with

the surveillance camera footage.

       13.    Erick Montgomery agreed to assist Agents in the recovery of two firearms

he currently had in his possession at a different location. Erick Montgomery stated that

after the burglary, he traded one of the rifles he had stolen for a pistol from one of the

other burglars. Erick Montgomery assisted Agents in recovering the Troy, Carbine,

5.56mm rifle, S/N DSE003806, and the Smith & Wesson, M&P, 9mm pistol, S/N

JDU4835.

       14.    Affiant was advised by an ATF Interstate Nexus expert that after reviewing

the inventory list of stolen firearms provided by the FFL, the nexus expert was able to

determine that none of the firearms stolen from DFW Gun Range were manufactured

within the state of Texas; therefore all 45 firearms had been shipped or transported in

interstate and/or foreign commerce.

                                      CONCLUSION

       15.    Based on the aforementioned facts herein, I respectfully submit that there is

probable cause to believe that on or about May 31, 2020, Erick Montgomery knowingly

committed violations of 18 U.S.C. § 922(u), Theft from a Federal Firearms Licensee; and

18 U.S.C. § 922(j), Possession of Stolen Firearm, in the Dallas Division of the Northern

District of Texas. Accordingly, I request that the Court issue warrants for their arrests for

these federal offenses.
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                                              ___________________________
                                              Robert Gardner
                                              Special Agent, ATF

Agent sworn and signature confirmed via reliable electronic means, pursuant to Fed. R.
Crim. P. 4.1 on this _____ day of June 2020.


                                              _____________
                                              REBECCA RUTHERFORD
                                              United States Magistrate Judge
                                              Northern District of Texas
